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                       UNITED STATES BANKRUPTCY COURT
                                 FOR THE
                        DISTRICT OF MASSACHUSETTS

______________________________
In re                          )
                               )
HUU PHU LE                     )            Case No.20-10763-JEB
and LAN T. LAM                 )            Chapter 7
                               )
                               )
      Debtors.                 )
______________________________)

       RESIGNATION OF CHAPTER 7 TRUSTEE AND ACCOUNTING OF FUNDS

       Stewart F. Grossman, Chapter 7 Trustee in the above-captioned case, hereby resigns as
Trustee and makes the following accounting.
1.     The Trustee was appointed on March 16, 2020.
2.     I have administered assets in this case and as of this date the estate had a bank account
balance of $25,000.00.
3.     The Trustee will promptly turn over to the successor trustee appointed by the U.S.
Trustee the balance of funds on hand, all financial records for the estate, and the Trustee’s related
files.

Dated: December 28, 2020


        /s/ Stewart F. Grossman
       Arent Fox LLP
       800 Boylston Street, 32nd Floor
       Boston, MA 02199
       617-973-6278
       Stewart.grossman@arentfox.com
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                              CERTIFICATE OF SERVICE


        I, Stewart F. Grossman, hereby certify that on this date, December 28, 2020, I served a
true and correct copy of the foregoing RESIGNATION OF CHAPTER 7 TRUSTEE AND
ACCOUNTING OF FUNDS by mailing a copy of the same by first class mail, postage prepaid,
as indicated below to the parties list on the attached Service List or via the Court’s CM/ECF
System.



                                            /s/ Stewart F. Grossman
                                            Stewart F. Grossman, Chapter 7 Trustee
                                            ARENT FOX LLP
                                            Prudential Tower
                                            800 Boylston Street
                                            Boston, MA 02199
                                            (617) 973-6100
                                            stewart.grossman@arentfox.com


Huu Phu Le
30 Franklin Street
Unit 422
Malden, MA 02148

Lan T. Lam
30 Franklin Street
Unit 422
Malden, MA 02148

Christopher L. Murray
Law Office of Daniel W. Murray
39 Union Avenue
Sudbury, MA 01776
Email: chris@danielmurraylaw.com

Daniel W. Murray
Murray Law Offices
39 Union Avenue
Second Floor
Email: dan@danielmurraylaw.com
